    Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 1 of 40




                      UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF MASSACHUSETTS
                               BOSTON DIVISION



STUDENTS FOR FAIR ADMISSIONS, INC,

         Plaintiff,
                                          Civil Action No. 1:14-cv-14176-ADB
         v.

PRESIDENT AND FELLOWS OF                  Leave to file granted on July 31, 2018
HARVARD COLLEGE (HARVARD
CORPORATION),

         Defendant.



                      AMICI CURIAE BRIEF OF
        HARVARD-RADCLIFFE BLACK STUDENTS ASSOCIATION,
             KUUMBA SINGERS OF HARVARD COLLEGE,
                   FUERZA LATINA OF HARVARD,
            NATIVE AMERICANS AT HARVARD COLLEGE,
        HARVARD-RADCLIFFE ASIAN AMERICAN ASSOCIATION,
    HARVARD-RADCLIFFE ASIAN AMERICAN WOMEN’S ASSOCIATION,
            HARVARD ASIAN AMERICAN BROTHERHOOD,
               HARVARD VIETNAMESE ASSOCIATION,
       HARVARD-RADCLIFFE CHINESE STUDENTS ASSOCIATION,
                 HARVARD KOREAN ASSOCIATION,
                     HARVARD JAPAN SOCIETY,
               HARVARD SOUTH ASIAN ASSOCIATION,
                    HARVARD ISLAMIC SOCIETY,
           TASK FORCE ON ASIAN AND PACIFIC AMERICAN
                  STUDIES AT HARVARD COLLEGE,
          HARVARD PHILLIPS BROOKS HOUSE ASSOCIATION,
    HARVARD MINORITY ASSOCIATION OF PRE-MEDICAL STUDENTS,
               COALITION FOR A DIVERSE HARVARD,
              FIRST GENERATION HARVARD ALUMNI,
        NATIVE AMERICAN ALUMNI OF HARVARD UNIVERSITY,
            HARVARD UNIVERSITY MUSLIM ALUMNI, AND
               HARVARD LATINO ALUMNI ALLIANCE
               IN SUPPORT OF DEFENDANTS’ MOTION
                     FOR SUMMARY JUDGMENT
           Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 2 of 40




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ..........................................................................................................ii

INTERESTS OF AMICI CURIAE .................................................................................................1

INTRODUCTION ..........................................................................................................................1

I.        Consideration of Race, as Part of Harvard’s Holistic and Multi-Faceted Admissions
          Policy, Is Constitutional Under Long-Established Supreme Court Precedent and
          Essential to Foster a Diverse and Inclusive Learning Environment. ..................................4

          A.         Harvard’s Race-Conscious Admissions Policy Is Permissible Under
                     Well-Settled Supreme Court Precedent and Necessary to Promote Racial and
                     Ethnic Diversity. .....................................................................................................4

          B.         Race Consciousness in Admissions Is Essential to Achieve the Benefits of
                     Diversity Due to Discrimination in Standardized Testing. .....................................8

          C.         The Need for Diversity and Inclusion Continues to Be a Pressing Issue at
                     Harvard. ................................................................................................................ 15

II.       A Race-Conscious Admissions Policy That Fosters Diversity of Underrepresented
          Students Does Not Conflict with the Interests of Asian Americans. ................................ 20

          A.         Asian Americans Benefit from Race-Conscious Remedies. ................................ 21

          B.         Serious Flaws in SFFA’s Statistical Analysis Undermine SFFA’s
                     Arguments to Eliminate Race-Conscious Admissions. ........................................ 23

          C.         SFFA’s Requested Remedy—the Erasure of Race from Harvard’s Admissions
                     Process—Would Not Address the Alleged Discrimination Against Asian
                     Americans. ........................................................................................................... 26

CONCLUSION ............................................................................................................................. 29




                                                                       i
           Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 3 of 40



                                               TABLE OF AUTHORITIES

                                                                                                                             PAGE(S)

CASES:

Fisher v. Univ. of Tex.,
  570 U.S. 297 (2013) .................................................................................................................5-6

Fisher v. Univ. of Tex.,
  136 S. Ct. 2198 (2016) ........................................................................................................ 2, 4-5

Gratz v. Bollinger,
  539 U.S. 244 (2003) ....................................................................................................................5

Grutter v. Bollinger,
  288 F.3d 732 (6th Cir. 2002) ......................................................................................................9

Grutter v. Bollinger,
  539 U.S. 306 (2003) ...................................................................................................... 4, 5, 6, 29

Guey Heung Lee v. Johnson,
  404 U.S. 1215 (1971) ................................................................................................................ 21

Regents of Univ. of Cal. v. Bakke,
  438 U.S. 265 (1978) ...................................................................................................... 4, 5, 6, 29

OTHER AUTHORITIES

ACT, Condition of College & Career Readiness 2017,
 http://www.act.org/condition2017 ............................................................................................ 12

Herman Aguinis, et al., Differential Prediction Generalization in College Admissions Testing,
  108 J. OF EDUC. PSYCH. 1045 (2016) ........................................................................................ 14

Joan Biskupic, Special Report: Behind U.S. Race Cases, a Little Known Recruiter,
  REUTERS, Dec. 4, 2012, http://www.
  reuters.com/article/us-usa-court-casemaker-idUSBRE8B30V220121204 ............................... 28

Gene D. Block, Office of the Chancellor, The Impact of Proposition 209 and our Duty to Our
  Students, Feb. 24, 2014, https://chancellor.ucla.edu/messages/the-impact-of-proposition-209-
  and-our-duty-to-our-students/ ..................................................................................................... 8

Br. of Amici Curiae Members of Asian Ams. Advancing Justice, in Supp. of Resp’ts,
  Fisher v. Univ. of Tex., No. 14-981, 2015 WL 7770251 (Nov. 2, 2015).................................. 23




                                                                    ii
          Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 4 of 40



                                                                                                                   PAGE(S)

Bethonie Butler, ‘I, Too, Am Harvard’: Black students show they belong,
  WASH. POST, Mar. 5, 2014, https://www.washingtonpost.com/blogs/she-the-
  people/wp/2014/03/05/i-too-am-harvard-black-students-show-they-
  belong/?utm_term=.111eb82225d6 .......................................................................................... 16

Paul L. Choi, Harvard Overseers Election Candidate Questionnaire Responses (Mar. 2017),
  https://www.diverseharvard.org/overseer-responses-2017 ....................................................... 20

Kat Chow, As Chinese Exclusion Act Turns 135, Experts Point to Parallels Today, NPR,
  May 5, 2017, https://www.npr.org/sections/codeswitch/2017/05/05/527091890/
  the-135-year-bridge-between-the-chinese-exclusion-act-and-a-proposed-travel-ban .............. 22

Julie S. Chung and Alexander Z. Zhang, Students for Fair Admissions and Harvard
  Both Got It Wrong, HARV. CRIMSON, July 18, 2018,
  https://www.thecrimson.com/article/2018/7/18/chung-zhang-sffa-harvard-wrong/ ................ 16

Consultation on the Validity of Testing in Education and Employment Before the
  U.S. Comm’n on Civil Rights (June 16, 1989) ............................................................................ 9

Crimson Editorial Bd., Condemning Police Brutality at Harvard, HARV. CRIMSON,
  Apr. 20, 2018, https://www.thecrimson.com/article/2018/
  4/20/editorial-police-brutality-at-harvard/ ................................................................................ 18

Noah J. Delwiche, Emailed Death Threat Investigation Remains Open, HARV. CRIMSON,
  Apr. 6, 2015, https://www.thecrimson.com/
  article/2015/4/6/email-threats-investigation-ongoing/.............................................................. 18

Educ. Trust, Overlooked & Underserved: Debunking the Asian “Model Minority” Myth in
  California Schools [Policy Brief], Educ. Trust West (Aug. 2010)........................................... 13

Roy O. Freedle, Correcting the SAT’s Ethnic and Social-Class Bias:
  A Method for Reestimating SAT Scores, 73 HARV. EDUC. REV. 1 (2003) ................................ 12

Buck Gee and Denise Peck, Asian Americans are the Least Likely Group in the U.S. to be
  Promoted to Management, HARV. BUS. REV., May 31, 2018................................................... 21

Luke Charles Harris, Rethinking the Terms of the Affirmative Action Debate Established
  in the Regents of the University of California v. Bakke Decision,
  6 RES. IN POL. & SOC’Y 133 (1999) .......................................................................................... 13

Hidden Biases Continue to Produce Powerful Headwinds for College-Bound
  Blacks Aiming for Higher Scores on the SAT,
  41 J. OF BLACKS IN HIGHER EDUC. 90 (2003) ........................................................................... 11




                                                               iii
           Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 5 of 40



                                                                                                                            PAGE(S)

Jasmine N. Hyppolite, A Room Full of Mirrors: Harvard Without Affirmative Action,
  HARV. CRIMSON, July 9, 2013, https://www.thecrimson.com/article/
  2018/7/9/hyppolite-harvard-without-affirmative-action/.......................................................... 19

William C. Kidder & Jay Rosner, How the SAT Creates “Built-In-Headwinds”:
 An Educational and Legal Analysis of Disparate Impact,
 43 SANTA CLARA L. REV. 131 (2002) ........................................................................ 9, 10-11, 12

Rakesh Kochhar & Anthony Cilluffo, Income Inequality in the U.S. is Rising Most Rapidly
  Among Asians, Pew Research Center, July 12, 2018,
  http://www.pewsocialtrends.org/2018/07/12/income-inequality-in-the-u-s-is-rising-most-
  rapidly-among-asians ................................................................................................................ 25

Joyce Kuo, Excluded, Segregated and Forgotten: A Historical View of the Discrimination of
  Chinese Americans in Public Schools, 5 ASIAN AM. L.J. 181 (1998) ...................................... 21

Charles R. Lawrence III, Two Views of the River: A Critique of the Liberal Defense of
  Affirmative Action, 101 COLUM. L. REV. 928 (2001) ............................................................... 13

Steven Lee, Students Criticize Response to Emailed Death Threat,
  HARV. CRIMSON, Oct. 4, 2014, https://www.thecrimson.com/article/
  2014/10/8/discussion-criticize-response-threat/ .................................................................. 18-19

Richard O. Lempert et al., Michigan’s Minority Graduates in Practice:
  The River Runs Through Law School,
  25 L. & SOC. INQUIRY 395 (2000)............................................................................................. 14

Letter from Harvard Black Law Students Ass’n to Harvard Univ. Cmty. & Broader Cambridge &
  Boston Cmty., Police Brutality at Harvard, Apr. 13, 2018,
  https://orgs.law.harvard.edu/blsa/media-gallery/police-brutality-at-harvard-april-13-2018/ ... 18

Adam Liptak, Travel Ban Case Is Shadowed by One of Supreme Court’s Darkest Moments,
  N.Y. TIMES, Apr. 16, 2018, https://www.nytimes.com/2018/04/16/us/politics/travel-ban-
  japanese-internment-trump-supreme-court.html ...................................................................... 22

Goodwin Liu, The Causation Fallacy: Bakke and the Basic Arithmetic of
  Selective Admissions, 100 MICH. L. REV. 1045 (2002) ............................................................ 26

James W. Loewen, Here We Go Again: Tests for the Common Core May Be Unfair to
  Some and Boring to All, HISTORY NEWS NETWORK, Nov. 18, 2014 ............................... 9-10, 11

Stephanie Mencimer, Here’s the Next Sleeper Challenge to Affirmative Action: The Guy Who
  Engineered the Fisher Case in the Supreme Court Isn’t Done Yet,
  MOTHER JONES, July 19, 2016, http://www.motherjones.com/politics/2016/07/
  abigail-fisher-going-stay-mad ................................................................................................... 28


                                                                   iv
           Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 6 of 40



                                                                                                                            PAGE(S)

Nat’l Comm’n on Asian Am. & Pacific Islander Research in Educ. & ETS,
  iCount: A Data Quality Movement for Asian Ams. and Pacific Islanders in
  Higher Educ. (2013) ................................................................................................................. 13

National Public Radio, Robert Wood Johnson Foundation, and Harvard T.H. Chan School of
  Public Health, Discrimination in America: Experiences and Views of Asian Americans
  (Nov. 2017), https://www.npr.org/assets/news/2017/12/
  discriminationpoll-asian-americans.pdf ............................................................................... 21-22

Press Release, New Research Uncovers Hidden Bias in College Admissions Tests, Indiana Univ.
  Bloomington Newsroom (Jan. 25, 2016), http://archive.news.indiana.edu/releases/
  iu/2016/01/bias-found-in-precollege-tests.shtml) ..................................................................... 14

Prop. 209 Lands On UC, L.A. TIMES, Apr. 1, 1998,
  http://articles.latimes.com/1998/apr/01/local/me-34867 ............................................................ 7

Ruben E. Reyes, Jr., I Should Have Gone to Stanford, HARV. CRIMSON, Oct. 16, 2017,
  https://www.thecrimson.com/article/2017/10/16/reyes-latinx-longform/ ................................ 16

Sara Rimer & Karen W. Arenson, Top Colleges Take More Blacks, but Which Ones?,
  N.Y. TIMES, June 24, 2004, https://www.nytimes.com/2004/06/24/us/top-colleges-
  take-more-blacks-but-which-ones.html .................................................................................... 28

Dennis Romero, Racist, Anti-Asian Flier Rocks UCLA, USC Campuses, LA WEEKLY,
  Feb. 11, 2014, http://www.laweekly.com/news/racist-anti-asian-flier-rocks-ucla-usc-
  campuses-4431258.................................................................................................................... 22

Jay Rosner, The SAT: Quantifying the Unfairness Behind the Bubbles, in
  SAT WARS: THE CASE FOR TEST-OPTIONAL COLLEGE ADMISSIONS
  (Joseph A. Soares 2015) ..................................................................................................... 10, 11

Maria Veronica Santelices & Mark Wilson, Unfair Treatment? The Case of Freedle,
 the SAT, and the Standardization Approach to Differential Item Functioning,
 80 HARV. EDUC. REV. 106 (2010)............................................................................................. 12

SCOTUSblog on Camera: Edward Blum (Complete), SCOTUSblog,
  http://www.scotusblog.com/media/scotusblog-on-camera-edward-blum-complete ........... 28-29

Statement of James W. Loewen, THE VALIDITY OF TESTING IN EDUCATION
  AND EMPLOYMENT (Eileen Rudert, ed., 1993) ................................................................ 9, 12, 15

Susan Sturm & Lani Guinier, The Future of Affirmative Action: Reclaiming the
  Innovative Ideal, 84 CALIF. L. REV. 953 (1996) ....................................................................... 13

Tumblr, I Too Am Harvard, http://itooamharvard.tumblr.com/ ................................................... 16


                                                                    v
          Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 7 of 40



                                                                                                               PAGE(S)

Kimberly West-Faulcon, More Intelligent Design: Testing Measures of Merit,
  13 U. PA. J. CONST. L. 1235 (2010-11) ................................................................................. 13

David B. Wilkins & Bryon Fong, Harvard Law School Report on the State of
  Black Alumni II: 2000-2016,
  HLS Center on the Legal Profession Research Paper No. 2018-2 (August 1, 2017) .......... 14-15

David B. Wilkins & Elizabeth Chambliss, Harvard Law School Report on the State of Black
  Alumni: 1896-2000, Harvard Law School Program on the Legal Profession (2002)............... 14

Alia Wong, ‘The Model Minority’ at the Country’s Top-Ranked Universities,
  THE ATLANTIC, Sept. 24, 2015, https://www.theatlantic.com/
  education/archive/2015/09/university-california-top-rankings-asian-students/407080/ ..... 25-26




                                                            vi
            Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 8 of 40



                                     INTERESTS OF AMICI CURIAE1

        Amici Curiae are student and alumni organizations comprised of current and former

Harvard students, who have an institutional interest in ensuring that Harvard College is an

inclusive place of learning that provides students with the critically important benefits of

diversity. As members of the Harvard student and alumni community, Amici Curiae have direct

knowledge about the vital importance of maintaining considerations of race in Harvard’s

admissions process, and believe that their institutional knowledge, as well as the knowledge and

experiences of their members, will contribute to this Court’s understanding and assessment of the

issues at the center of this important case. A description of each amicus curiae organization can

be found in the Motion to Participate as Amici Curiae and is incorporated herein by reference.

                                               INTRODUCTION

        Amici Curiae represent current and former Harvard students from myriad backgrounds,

experiences, and racial and ethnic heritages. Despite their many differences, Amici Curiae stand

unified in support of the continued consideration of race, as one of many factors, in Harvard’s

admissions process. Their unequivocal commitment in support of this consideration is based both

on the significance that their members personally ascribe to their racial or ethnic identity and

because they can attest personally to the devastating consequences that would result to the

educational experience of all Harvard students if they were deprived of the benefits of learning

from fellow students with diverse backgrounds and experiences.

        Amici Curiae strongly condemn all forms of racial discrimination and urge the thorough

investigation and redress of any credible allegations of racial discrimination in admissions
        1
            Local counsel for Amici Curiae in this action, the law firm of Sugarman Rogers Barshak & Cohen, P.C.
(“Sugarman Rogers”), also represents the defendant, President and Fellows of Harvard College (“Harvard”), in
matters wholly unrelated to the legal and factual issues presented by this action. Neither Harvard nor its litigation
counsel in this action have provided any financial support for the preparation of Amici Curiae’s brief or authored
this brief in whole or in part.


                                                         1
            Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 9 of 40



practices. However, Amici Curiae equally condemn the attempt to manufacture conflict between

racial and ethnic groups in order to revive an unrelenting agenda to dismantle efforts to create a

racially diverse and inclusive student body through college admissions. Race consciousness is

not at odds with racial equality. Indeed, race consciousness is necessary to combat racial

inequality given the history of discrimination and entrenched systemic prejudices—both explicit

and implicit—against Black, Latinx,2 Asian, and Native peoples.

        This Court has significant grounds to be skeptical of the claims raised by Plaintiff

Students for Fair Admissions (“SFFA”), which has demonstrated no sincere interest in advancing

the rights of Asian Americans. Rather, this litigation is spearheaded by Edward Blum, a longtime

crusader against civil rights and racial equality. Mr. Blum led the failed challenge against the

University of Texas’s race-conscious admissions policy, which the Supreme Court upheld in

2016 based on its well-established precedent that colleges and universities may pursue racial

diversity as part of their educational mission. Fisher v. Univ. of Tex., 136 S. Ct. 2198 (2016)

(“Fisher II”). Having lost before the Supreme Court, Mr. Blum—under the guise of Plaintiff in

this action—invokes the discredited and divisive strategy of attempting to pit historically

marginalized groups against each other and demanding, to the detriment of all Harvard students,

that the consideration of race be eliminated from Harvard’s admissions process altogether.

SFFA’s attempt to use this new and divisive twist on old and rejected arguments plainly fails.

Harvard’s limited consideration of race, as part of its holistic admissions policy, is not only

constitutional—it is an essential tool in advancing Harvard’s educational mission.

        Amici Curiae, therefore, support summary judgment in favor of Harvard’s race-conscious

admissions policy for two primary reasons:

        2
          The gender-neutral term “Latinx” is used herein to refer collectively to Latinos, Latinas, and non-binary
persons of Latin American background.


                                                        2
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 10 of 40



       First, removing considerations of race from the admissions process would have

devastating consequences on the admission of historically underrepresented and marginalized

groups that could lead to further racial isolation, ignorance, or racial hostility on Harvard’s

campus, as well as significantly diminish the quality of the educational environment for all

students. Amici Curiae’s institutional knowledge of the experiences of racial isolation and, at

times, even racial animus experienced by past and present Harvard students dictates that, rather

than roll back Harvard’s progress on diversity by eliminating considerations of race in

admissions, Harvard should intensify its efforts to promote an inclusive and diverse student

climate. Amici Curiae encourage the Court to carefully review all the declarations submitted in

conjunction with this amicus brief, which contain vital information about the experiences of

Harvard students that was impossible to include in its entirety within the pages of this brief.

       Second, SFFA conflates the question of whether Harvard’s race-conscious admissions

process is permissible with the question of whether Asian American applicants are subject to bias

in admissions. These two questions are not, as SFFA would have the court believe, inextricably

linked. Amici Curiae are committed to eradicating racial discrimination at Harvard, whether in

the admissions process or elsewhere. SFFA, however, has not shown—in satisfaction of its

burden as Plaintiff in this action—that any such bias exists as a direct result of Harvard’s efforts

to create a diverse and inclusive student body through a race-conscious admissions process or

that any such discrimination (if it exists) would be remedied by eliminating race-conscious

admissions. The clear incongruity between SFFA’s claim and the relief sought is demonstrated

by the fact that eliminating considerations of race would primarily benefit white, not Asian

American, students. This disconnect illuminates the true purpose of SFFA’s lawsuit as merely




                                                 3
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 11 of 40



the latest strategy in Mr. Blum’s ongoing crusade to undermine Supreme Court precedent and

dismantle programs that promote diversity.

I.     Consideration of Race, as Part of Harvard’s Holistic and Multi-Faceted Admissions
       Policy, Is Constitutional Under Long-Established Supreme Court Precedent and
       Essential to Foster a Diverse and Inclusive Learning Environment.

       It is well-settled Supreme Court precedent that, as part of their educational mission to

promote diversity and inclusion, colleges and universities may consider race as one of many

factors in their admissions practices. As the declarations attached to this brief make abundantly

clear, however, despite efforts to promote diversity, Harvard is still a racially isolating

environment for many students of color. See Exs. 2-17 to Mot. to Participate as Amici Curiae.

Harvard has yet to fully achieve the benefits of having a truly diverse student body and, thus,

should continue to make all lawful efforts to increase campus diversity, including the use of a

holistic, multifaceted race-conscious admissions process. This limited consideration of race is

especially important given that test scores are not an accurate measure of merit due to the racial

bias that pervades standardized testing instruments. SFFA’s proposal to eliminate any

consideration of race from the admissions process would set back Harvard’s efforts to achieve

the benefits of diversity and inflict additional damage on the students of color who attend

Harvard.

       A.      Harvard’s Race-Conscious Admissions Policy Is Permissible Under Well-
               Settled Supreme Court Precedent and Necessary to Promote Racial and
               Ethnic Diversity.

       The Supreme Court has for decades recognized that universities may consider race “to

achieve that diversity which has the potential to enrich everyone’s education.” Grutter v.

Bollinger, 539 U.S. 306 (2003); see also Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 311-13

(1978) (Powell, J.) (reasoning that universities have a unique academic freedom to create a



                                                4
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 12 of 40



diverse student body, including racial diversity). As recently as 2016, the Supreme Court

reaffirmed the core principle that a diverse student body yields numerous educational benefits for

all students. Fisher II, 136 S. Ct. at 2208. The Court assumed “as given” its prior precedent on

this point in Fisher v. Univ. of Tex., 570 U.S. 297, 307 (2013) (“Fisher I”) (citing Grutter, 539

U.S. 306; Gratz v. Bollinger, 539 U.S. 244 (2003); and Bakke, 438 U.S. 265).

        Harvard students from underrepresented backgrounds, who experience life on campus as

outsiders every day, do not feel that Harvard has yet achieved the benefits that come from

enrolling a truly diverse class. Particularly in moments of acute stress or controversy, students of

color rely on each other and their affinity groups for support where the Harvard administration

has fallen short. Moreover, there are continuing concerns as to whether student communities of

color will be sufficiently large enough to wield some power and influence, such as hosting the

Black Convocation to welcome new Black students to Harvard, Decl. of Aba Sam (“Sam Decl.”)

¶ 5, preventing the closure of the Harvard University Native American Program, Decl. of Emily

Van Dyke (“Van Dyke Decl.”) ¶ 15, lobbying the administration for a comprehensive Ethnic

Studies program and a multicultural center, Decl. of Margaret Chin (“Chin Decl.”) ¶ 23, or

becoming part of an active network of alumni of color, Decl. of Rashid Yasin (“Yasin Decl.”) ¶

3; Decl. of Daniel Lobo (“Lobo Decl.”) ¶ 9; Decl. of Debra Sanchez Reed ¶¶ 7-8. It is also

important for students of all backgrounds to interact with members of other races in significant

enough numbers to dispel the myth that any racial group is a monolith. To eliminate race-

conscious policies would have a deleterious effect on the student experience by reducing the

number of students of color, dismantling their support systems, deepening their isolation, and

preventing a richer educational experience for all students.




                                                 5
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 13 of 40



       The consideration of race in Harvard’s holistic admissions policy is sufficiently

“narrowly tailored” to attain its educational goal of racial and ethnic diversity. “‘To be narrowly

tailored, a race-conscious admissions program cannot use a quota system’ but instead must

‘remain flexible enough to ensure that each applicant is evaluated as an individual and not in a

way that makes an applicant’s race or ethnicity the defining feature of his or her application.’”

Fisher, 570 U.S. at 309 (quoting Grutter, 539 U.S. at 334, 337). It must “consider all pertinent

elements of diversity in light of the particular qualifications of each applicant,’” and implement

“truly individualized consideration” that may use race in a “flexible, nonmechanical way.”

Grutter, 539 U.S. at 333 (quoting Bakke, 438 U.S. at 317). Harvard’s admissions process does

just that by considering applicants as a whole person, comparing their qualifications with those

of all other applicants, and assessing them in the context of the opportunities and challenges they

have faced. See Report of David Card, Ph.D, Ex. 33 to Decl. of Felicia H. Ellsworth in Supp. of

Harvard’s Mot. for Summ. J. (“Card Rep.”) at 16, 19. Race is but one consideration among

multiple variables that form part of this evaluation, including standardized test scores, an alumni

interviewer evaluation, letters of recommendation, applicant essays, the academic strength of

applicants’ high schools, the economic and demographic profile of applicants’ communities,

parents’ level of education, extracurricular activities, and optional submissions of scholarly

work, artwork, or recordings of music or dance performances. See Harvard Stmt. of Material

Facts (“Harvard’s SMF”) ¶¶ 15, 22.

       These myriad race-neutral factors play the dominant role in a student’s admission.

Indeed, race has less of an effect on applicants’ chances of admission than many other variables,

such as teacher and guidance counselor recommendations, alumni interviews, the character of

their high schools or neighborhoods, or their intended career or major. See Card Rep. at 82-83.



                                                6
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 14 of 40



Further, applicants for whom race appears to have had a larger positive effect on their likelihood

of admission had the strongest applications—among the top ten percent of the applicant pool

based on race-neutral factors. Id. at 84. Such highly qualified candidates are impressive across

many metrics, and it is impossible to conclude that race was the determinative factor in their

admission. Id.

        Yet, if Harvard eliminated the consideration of race, even while maintaining its existing
                                                                                                   3
race-neutral efforts to achieve diversity, the population of Black, Latinx, or “Other”                 race

students would dramatically decrease by nearly 50%. See Card Rep. at 103, 107-08

(demonstrating that relative to the Class of 2019, African American students would decrease

from 14% to 6% and Hispanic or Other students would decrease from 14% to 9%). This outcome

is neither unexpected or theoretical. Some of this can be explained by an overreliance on

standardized test scores, which are infected by racial bias, as explained infra Section I.B. Schools

that implement admissions policies that give too much weight to test scores and grades run the

risk of systematically undervaluing the strengths and potential of many underrepresented

applicants of color.

        The sharp decline in Black and Latinx student populations has become a reality at highly

selective universities that have implemented colorblind admissions, such as the University of

California at Berkeley, the University of California at Los Angeles, and the University of

Michigan. Id. at 99. After Proposition 209 banned consideration of race in the University of

California system in 1996, admission of Black and Latinx students at California schools dropped

precipitously, especially at the most selective schools. Prop. 209 Lands On UC, L.A. TIMES,

Apr. 1, 1998 (reporting that the number of Black and Latinx students admitted to UC Berkeley,

        3
         Due to their small numbers, Harvard’s expert included students identifying as Native American and
Hawaiian/Pacific Islander into the “Hispanic” racial category. Card Rep. at 55.


                                                    7
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 15 of 40



as a part of the first freshman class since Proposition 209 went into effect, dropped by 66% and

53%, respectively, from the number of such students admitted the previous year),

http://articles.latimes.com/1998/apr/01/local/me-34867. Almost two decades later, those student

communities have not recovered. UCLA’s Chancellor lamented that the school “continues to fall

far short of the diversity California’s public colleges and universities enjoyed before”

Proposition 209, leaving “many of our students of color [to] feel isolated, as strangers in their

own house . . . [and] [o]thers [to] feel targeted, mocked or marginalized, rather than recognized

and valued.” Gene D. Block, Office of the Chancellor, The Impact of Proposition 209 and our

Duty to Our Students, Feb. 24, 2014, https://chancellor.ucla.edu/messages/the-impact-of-

proposition-209-and-our-duty-to-our-students/.

       Harvard students of color know firsthand that their school still struggles with “issues of

diversity and inclusion,” including “ongoing feelings of isolation and alienation among racial

minorities.” Harvard’s SMF ¶ 163. The significant decline in Black, Latinx, and possibly

students from Asian subgroups4 and Native students, that would result from an end to race-

conscious admissions, would only exacerbate these issues. And all Harvard students would be

deprived of the educational benefits of learning in a diverse environment that is crucial to

succeeding in a multiracial workplace and society.

       B.         Race Consciousness in Admissions Is Essential to Achieve the Benefits of
                  Diversity Due to Discrimination in Standardized Testing.

       Harvard’s ability to consider race, as one of many factors, in admissions is indispensable

to its ability to achieve the benefits of diversity. This is especially true because the test scores—

on which Harvard and other colleges and universities so heavily rely—are tainted by racial bias.

Thus, short of eliminating standardized test scores altogether, it is crucial for Harvard to consider
       4
           The Asian race category in Harvard’s data is not disaggregated by specific ethnic groups.


                                                          8
         Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 16 of 40



race, as one of many factors, as it works to identify talented and qualified students of color who

may otherwise be undervalued based on test scores that do not accurately measure their capacity

for success at Harvard and beyond.

        SFFA’s erroneous assumption that test scores are a valid and reliable5 indicator of merit,

despite evidence that tests like the SAT and ACT underpredict the potential of many talented and

qualified students of color, is a fatal flaw in its challenge to Harvard’s policy.6 See, e.g., Pl.’s Br.

in Supp. of Summ. J. (“Pl.’s Br.”) at 7 (quoting one of its experts referring to test scores as an

objective measure of merit). Indeed, four Sixth Circuit judges recognized that standardized test

scores are not objective measures of merit, stating “the record indicates that LSAT scores are

neither race-neutral or gender-neutral criteria for admissions decisions.” Grutter v. Bollinger,

288 F.3d 732, 771 (6th Cir. 2002) (Clay, J., concurring), aff’d, 539 U.S. 306.

        Racial bias is built into the very fabric of standardized tests. Before an experimental test

question is approved for use on a standardized test like the SAT, test manufacturers test the

question for reliability. William C. Kidder & Jay Rosner, How the SAT Creates “Built-In-

Headwinds”: An Educational and Legal Analysis of Disparate Impact, 43 SANTA CLARA L. REV.

131, 146, 156 (2002). A test is reliable when its findings can be replicated: the results should be

the same for an examinee taking the test multiple times under the same conditions. See id. at 156.

Thus, a new question must generally produce the same findings as pre-existing questions. See id.

Test manufacturers deem a question reliable when “high ability” examinees are more likely than

        5
           “‘Valid’ means that tests test what they claim to measure (i.e., content validity) and correlate strongly
with performance in college (predictive validity).” Consultation on the Validity of Testing in Education and
Employment Before the U.S. Comm’n on Civil Rights (June 16, 1989) (statement of James W. Loewen, Harvard-
trained sociologist and author) in THE VALIDITY OF TESTING IN EDUCATION AND EMPLOYMENT, 42 (Eileen Rudert,
ed., 1993). A measure is reliable if it produces consistent results (i.e., if multiple tests are given under the same
conditions, the result should be the same).
         6
           “One-third of the gender gap on the math exam, all of the gender gap on the verbal exam, and perhaps 40
percent of the black/white gap on the verbal exam, is due to test bias.” Loewen statement to the U.S. Comm’n on
Civil Rights, supra note 5, at 42.


                                                         9
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 17 of 40



“low ability” examinees to answer correctly. Id. at 157. But test manufacturers fail to use any

independent measure of “ability.” James W. Loewen, Here We Go Again: Tests for the Common

Core May Be Unfair to Some and Boring to All, HISTORY NEWS NETWORK, Nov. 18, 2014,

https://historynewsnetwork.org/blog/153543. Instead, test manufacturers define “high ability” as

an examinee who performed well on the overall test and will discard as “unreliable” questions on

which high scorers do not outperform low scorers. Id.; Kidder, supra, at 157. If the test itself is

biased and unfairly depresses the scores of some examinees, test makers’ reliability check will

reproduce that bias.

       “Like most other ‘standardized’ tests given widely in the U.S., researchers originally

validated the SAT on affluent white students.” Loewen, supra. As a consequence, “[a]ffluent

white students have always done better on [the SAT] than have African Americans, Hispanics,

Native Americans, Filipino Americans, or working-class whites.” Id. And because the “ability”

of an examinee is measured by the yardstick of affluent white individuals’ performance,

experimental test questions are systematically discarded as “biased” when more Black or Latinx

students answer correctly than white students, resulting in a scored test comprised entirely (or

almost entirely) of questions that favor white students, sometimes by large margins. Id.; Kidder,

supra, at 133-72.

         [I]f high-scoring test-takers—who are more likely to be white (and male, and
         wealthy)—tend to answer the question correctly in pretesting, it’s a worthy
         SAT question; if not, it’s thrown out. Race and ethnicity are not considered
         explicitly, but racially disparate scores drive question selection, which in turn
         reproduces racially disparate test results in an internally reinforcing cycle.

Jay Rosner, The SAT: Quantifying the Unfairness Behind the Bubbles, in SAT WARS: THE CASE

FOR TEST-OPTIONAL COLLEGE ADMISSIONS 134 (Joseph A. Soares 2015) (internal citation

omitted). This process is “used by psychometricians to construct admissions tests such as the

SAT, ACT, GRE, LSAT, GMAT, MCAT, and many other bubble tests.” Id.
                                                10
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 18 of 40



        An example of the bias produced by this process is an October 1998 administration of the

SAT, on which white students outperformed Black and Chicano students on every single scored

question. Kidder, supra, at 148. More than half of the questions had performance gaps so wide

that the percentage of white students who answered correctly was at least 15 percentage points

higher than the percentage of Black students who answered correctly.7 Id. at 148-50. If equally

valid questions—but with a less racially disparate impact—were used, the Black-white score gap

could be closed by 40%, while the Chicano-white score gap could be reduced by 25%. Id. at 172;

Hidden Biases Continue to Produce Powerful Headwinds for College-Bound Blacks Aiming for

Higher Scores on the SAT, 41 J.           OF   BLACKS IN HIGHER EDUC. 90, 92 (2003). Instead, “the

process currently used to construct the SAT, LSAT, GRE, and similar tests unintentionally

operates to select questions with larger racial and ethnic disparities (favoring Whites).” Kidder,

supra, at 210. Research has found that “99% of SAT math questions chosen to appear on scored

sections ha[d] to be answered correctly [in pre-testing] by . . . a higher percentage of whites than

Mexican Americans[] and a higher percentage of whites than blacks, simultaneously.” Rosner,

supra, at 135. The process has “the ultimate effect of contributing to—even guaranteeing—the

lower performance of African Americans and Chicanos on the SAT.”8 Kidder, supra, at 156.

        In 2003, Roy Freedle, who served for 31 years as a cognitive psychologist for

Educational Testing Services (“ETS”), the creator of the SAT, revealed that Black and Latinx

students consistently outperformed white students on hard questions, while white students

outperformed Black and Latinx students on easy questions, perhaps because the hard questions
        7
           Another purported quality control measure—differential item functioning (“DIF”)—adds to the bias. Due
to DIF, “whites may outscore blacks on items, but the items will still get dropped because whites don’t outscore
blacks by a great enough margin.” Loewen, supra; see also id. (“Thus if 7% fewer African Americans typically get
an item correct, compared to whites, and if 6% is the cutoff point that triggers DIF, then items on which blacks do
‘only’ 1% worse than whites will get flagged for scrutiny.”).
         8
           See also Kidder, supra, at 209 (noting that changes expected to be made to the SAT in 2005 would not
solve this problem).


                                                        11
         Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 19 of 40



used vocabulary taught at school, while the easier questions used words learned at home that had

varying colloquial meanings (with the test rewarding answers that matched the meaning most

frequently used in white, middle class homes like those of the test creators).9 See generally Roy

O. Freedle, Correcting the SAT’s Ethnic and Social-Class Bias: A Method for Reestimating SAT

Scores, 73 HARV. EDUC. REV. 1 (2003); see also id. at 28 (noting that there is “evidence for this

bias pattern across a wide span of tests” and mentioning evidence of cultural bias on Advanced

Placement exams, the GRE, and high school vocabulary exams). Because correct answers on

easy questions—those infected with cultural bias—yielded the same amount of credit as correct

answers to hard questions, test scores for Black students were artificially depressed by as much

as 200 or 300 points. Id. at 12-13. Students of color “lose enough points on the easy items so that

it is very difficult, in fact impossible, for them to regain sufficient ground when responding to the

hard items to show their true ability.” Id. at 20. A 2010 study replicated Freedle’s findings,

showing that the SAT “favors one ethnic group over another.” Maria Veronica Santelices &

Mark Wilson, Unfair Treatment? The Case of Freedle, the SAT, and the Standardization

Approach to Differential Item Functioning, 80 HARV. EDUC. REV. 106, 126 (2010) (noting that

the study’s findings called into “question the validity of SAT verbal scores for African American

examinees”).

         Test bias likely also artificially depresses the scores of other people of color, such as

Native Americans and members of Asian American/Pacific Islander subgroups.10 For example,

according to the ACT’s benchmarks of college readiness, 50% of white examinees who tested

         9
           Although “ETS researchers have proven that some groups use a word in one way while other groups use it
in another,” by 1989, “ETS ha[d] never dropped or included a single item as a result of this research” and “d[id] not
use review panels to see if items might be unfairly unfamiliar to certain groups.” Loewen Stmt. to the U.S. Comm’n
on Civil Rights, supra note 5, at 43.
         10
            Although Kidder and Rosner’s study focused on Black and Latinx examinees, the authors suggested that,
like Freedle’s work, their finding also apply to other people of color. Kidder, supra, at 168-70.


                                                         12
         Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 20 of 40



between 2013 and 2017 met three of four benchmarks of college readiness, while only 16% of

American Indian and 23% of Pacific Islander examinees did the same. See ACT, Condition of

College & Career Readiness 2017, http://www.act.org/condition2017. Similarly, in 2010, 48%

of California’s high school students who took the SAT scored 1500 or above (out of 2400), and

they passed 58% of the AP exams they took. In contrast, in a California high school that was

44% Hmong, only 8% of students who took the SAT scored 1500 or above, and students there

passed only 16% of the AP exams they took. At another California high school that was 40%

Filipino, the comparable percentages were 13% and 22%, respectively. Nat’l Comm’n on Asian

Am. & Pacific Islander Research in Educ. & ETS, iCount: A Data Quality Movement for Asian

Ams. and Pacific Islanders in Higher Educ., at 18-19, Table 4 (2013); see also Educ. Trust,

Overlooked & Underserved: Debunking the Asian “Model Minority” Myth in California Schools

[Policy Brief], Educ. Trust West (Aug. 2010) (documenting test score gaps affecting Laotian,

Cambodian, Guamanian/Chamorro, Samoan, and Filipino students).

         In addition to the inherent racial biases in the tests themselves, standardized test scores

are not valid measures of how well a student will perform in college.11 “[N]either cumulative

grade point averages nor national aptitude test scores have ever been shown to be anything more

than rather crude instruments for predicting first year grade point averages in given academic

settings; and after the first year their predictive value decreases sharply.” Luke Charles Harris,


         11
             See also Kimberly West-Faulcon, More Intelligent Design: Testing Measures of Merit, 13 U. PA. J.
CONST. L. 1235 (2010-11) (discussing the ramifications of social science research showing that standardized tests
have racially skewed scores and do not accurately predict college performance); Charles R. Lawrence III, Two
Views of the River: A Critique of the Liberal Defense of Affirmative Action, 101 COLUM. L. REV. 928, 945 (2001)
(“An extensive body of research challenges the usefulness of standardized tests in predicting the performance of
poor and minority students, and finds that the SAT does a better job predicting the socioeconomic status of the test
taker's parents than predicting college performance.”); Susan Sturm & Lani Guinier, The Future of Affirmative
Action: Reclaiming the Innovative Ideal, 84 CALIF. L. REV. 953, 957, 968-80 (1996) (arguing that SAT and other
standardized tests are racially biased and explaining that standardized test scores have limited predictive power with
respect to students’ future performance).


                                                         13
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 21 of 40



Rethinking the Terms of the Affirmative Action Debate Established in the Regents of the

University of California v. Bakke Decision, 6 RES. IN POL. & SOC’Y 133, 145 (1999). A 2016

analysis of data involving 475,000 examinees at 176 colleges across the country found that, at

62% of the colleges studied, there was a statistically significant difference in how well high

school GPA and SAT scores predicted the first-year college grades of Black students as

compared to how accurately high school GPA and SAT scores predicted the first-year college

grades of their white classmates. Herman Aguinis, et al., Differential Prediction Generalization

in College Admissions Testing, 108 J. OF EDUC. PSYCH. 1045, 1053 (2016). Similarly, at 41% of

the colleges studied, there were statistically significant differences in how well high school GPA

and SAT scores predicted the first-year college grades of Latinx students as compared to how

well high school GPA and SAT scores predicted the first-year college grades of their white

classmates. Id. While this study concerned the SAT, the study’s author noted that the findings are

applicable to other standardized tests as well. Press Release, New Research Uncovers Hidden

Bias in College Admissions Tests, Indiana Univ. Bloomington Newsroom (Jan. 25, 2016),

http://archive.news.indiana.edu/releases/

iu/2016/01/bias-found-in-precollege-tests.shtml.

       Test scores also do not accurately predict success after college. For example, a study of

Black, Latinx, and Native American graduates from the University of Michigan’s classes of

1970-96 found that, despite having lower standardized test scores, they were as successful as

their white classmates in their professional life in terms of income, career satisfaction, and civic

contributions. Richard O. Lempert et al., Michigan’s Minority Graduates in Practice: The River

Runs Through Law School, 25 L. & SOC. INQUIRY 395, 468-79, 485-90 (2000); see also David B.

Wilkins & Elizabeth Chambliss, Harvard Law School Report on the State of Black Alumni:



                                                14
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 22 of 40



1896-2000, Harvard Law School Program on the Legal Profession (2002); David B. Wilkins &

Bryon Fong, Harvard Law School Report on the State of Black Alumni II: 2000-2016, HLS

Center on the Legal Profession Research Paper No. 2018-2 (August 1, 2017) (noting that “the

most comprehensive examination of the careers of the black graduates of any school ever

assembled” shows that the majority of Black Harvard Law School alumni surveyed have enjoyed

considerable success even though, nationally, Black LSAT examinees have, on average, lower

scores than white examinees).

       The impact of racial bias in standardized testing on the ability of colleges and universities

to assemble a class of racially diverse students is profound. Artificially depressed test scores

hinder students’ ability to procure offers of admission, scholarships, and other educational

opportunities. Because standardized test scores have the patina of legitimacy, students of color

themselves often do not realize that the tests are infected by racial bias, thus damaging their self-

confidence if they receive a low score. As one professor noted, “[t]eaching experience has shown

me that based upon their SAT and GRE scores, blacks think they have no chance at graduate

school.” Loewen Stmt. to U.S. Comm’n On Civil Rights, supra, at 41 n.2. “Conversely,

advantaged whites showing only a modest ability to read, write, and think, test well, and win

admission to prestigious schools and fine jobs.” Id. “Unless counter-balanced by robust

affirmative action programs, standardized tests block the dreams of many [people of color] . . .

for equal access to education and employment.” Id.

       C.      The Need for Diversity and Inclusion Continues to Be a Pressing Issue at
               Harvard.

       There is no question that Harvard needs student diversity to improve its school climate.

Indeed, Harvard acknowledges that there is much work to do for its campus to become truly

inclusive. Harvard’s Br. in Supp. of Summ. J. at 28. Many Harvard students who come from

                                                 15
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 23 of 40



historically underrepresented and/or disadvantaged communities continue to feel unwelcome in

social and academic spaces on campus. The declarations provided by Amici Curiae, representing

students and alumni from an array of backgrounds, include incredibly personal stories that paint

a consistent picture of racial isolation for their members.

       For example, many students in STEM classes have assumed that their Black classmates

are not good at math and science and, thus, declined to collaborate with them. Sam Decl. ¶¶ 7-8.

And Latinx students have, in a number of instances, been mistaken by students and staff as

“laborers” as part of an overall assumption that they do not fit the mold of a Harvard student. See

Ruben E. Reyes, Jr., I Should Have Gone to Stanford, HARV. CRIMSON, Oct. 16, 2017,

https://www.thecrimson.com/article/2017/10/16/reyes-latinx-longform/. In some cases, the social

isolation that students experience inhibits them from reaching their full academic potential. See

Van Dyke Decl. ¶¶ 10-12 (discussing a gifted Harvard classmate from the Ojibwe Tribe, who

began to struggle academically due to feelings of isolation and was tragically killed after

returning to his reservation while on academic probation). Issues of diversity and inclusion are

no less urgent for Asian, Asian American, and Pacific Islander students, who are too often

treated as a monolithic entity, or stereotyped as model minorities with high test scores, but

lacking the social skills necessary to take on leadership roles. See Decl. of Melissa Tran (“Tran

Decl.”) ¶ 5; Decl. of Jonathan Paek ¶ 10; Julie S. Chung and Alexander Z. Zhang, Students for

Fair Admissions and Harvard Both Got It Wrong, HARV. CRIMSON, July 18, 2018,

https://www.thecrimson.com/article/2018/7/18/chung-zhang-sffa-harvard-wrong/.

       The testimonies provided in the accompanying declarations demonstrate that ensuring

race consciousness in admissions is essential because the “Harvard administration has not done




                                                 16
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 24 of 40



enough to foster inclusion,” and the task often falls to students of color to support each other.12

Decl. of Catherine Ho (“Ho Decl.”) ¶ 4; see also Decl. of Cecilia Nuñez (“Nuñez Decl.”) ¶ 15;

Lobo Decl. ¶ 6. Amici Curiae have often been compelled to compensate for the lack of sufficient

support and inclusion for students of color at Harvard by providing their members with resources

to navigate campus life and opportunities to build connections with others who share similar

experiences. As a Board member from Fuerza Latina explained, members of Amici Curiae

“come together to fight discrimination and hostility,” but without a diverse campus “we wouldn’t

necessarily be able to advocate for ourselves” or “offer that same support.” Nuñez Decl. ¶¶ 11-

12. Among other things, Amici Curiae provide mentoring and networking opportunities for

students who are the first in their family to attend college, Lobo Decl. ¶¶ 5, 9, community-

building for students who experience racial isolation, Sam Decl. ¶¶ 5, 13-14, and increased

cultural awareness for all students on campus, Ho Decl. ¶ 5. Due to insufficient equity and

inclusion on campus, Amici Curiae have also engaged in advocacy to force Harvard to take

action, such as a campaign led by TAPAS, Diverse Harvard, and other groups to secure a

comprehensive Ethnic Studies program, which has not been established by Harvard despite

decades of student advocacy, Chin Decl. ¶ 23, and another decades-long struggle involving

numerous affinity groups representing people of color to have a multicultural center on campus,

Sam Decl. ¶ 20 (describing how the lack of a designated space sends the message that the

University does not value cultural diversity).

        12
           For example, in 2014 when she was a sophomore at Harvard, Kimiko Matsuda-Lawrence, who is Black
and Japanese, wrote and directed a play based on interviews with more than 40 Harvard students of color who
expressed feelings of alienation because of false assumptions that they do not belong at Harvard. See Bethonie
Butler, ‘I, Too, Am Harvard’: Black students show they belong, WASH. POST, Mar. 5, 2014, https://www.
washingtonpost.com/blogs/she-the-people/wp/2014/03/05/i-too-am-harvard-black-students-show-they-belong/
?utm_term=.111eb82225d6. Matsuda-Lawrence’s idea stemmed from discussion among members of Amicus Curiae
Kuumba Singers of Harvard College, and the play was presented as part of Kuumba’s annual Black Arts festival. Id.
The interviews developed into a highly publicized campaign in which students of color asserted their right to be
respected as members of the Harvard community. Tumblr, I Too Am Harvard, http://itooamharvard.tumblr.com/.


                                                       17
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 25 of 40



        Repeated incidents of hostility on campus, including racial slurs and other forms of

aggression, are additional evidence that Harvard has not achieved an inclusive climate. See

Nuñez Decl. ¶ 10 (describing how she and other Latinx students depended on each other when

they were called “wetbacks” while walking on campus together); Sam Decl. ¶ 12 (describing an

incident when a member of BSA was harassed by a group of drunk people chanting racial slurs

and confided in fellow BSA members); Tran Decl. ¶ 6 (describing perceptions of people from

Southeast Asian countries as “poorer, less intelligent, and even more barbaric than people from

other Asian countries”). During the 2017-18 school year, the Cambridge Police Department

(“CPD”) violently attacked a Black Harvard College student. See Crimson Editorial Bd.,

Condemning      Police   Brutality    at   Harvard,    HARV.      CRIMSON,    Apr.    20,     2018,

https://www.thecrimson.com/article/2018/

4/20/editorial-police-brutality-at-harvard/. BSA, whose members believe the student was treated

more harshly due to his race, joined other student groups in releasing a statement that criticized

the CPD for unnecessarily resorting to violence instead of providing the student with appropriate

support. See Letter from Harvard Black Law Students Ass’n to Harvard Univ. Cmty. & Broader

Cambridge     &    Boston    Cmty.,    Police    Brutality   at   Harvard,    Apr.    13,     2018,

https://orgs.law.harvard.edu/blsa/media-gallery/police-brutality-at-harvard-april-13-2018/;    Sam

Decl. ¶¶ 13-18. During the same school year, a campus organization distributed fake deportation

notices in students’ dorms for the well-intentioned purpose of raising awareness about unfair

immigration policies without realizing the possibility that some students may actually be

undocumented. See Nuñez Decl. ¶ 9.

        Meanwhile, in October 2014, about 400 members of the Harvard community, most of

them Asian American women students, received an email addressed to “slit-eyes,” with the



                                                18
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 26 of 40



writer threatening to come to the Harvard campus the following day to “shoot all of you” and

“kill you individually.” Chin Decl. ¶ 35. The source of the death threats continued to contact

Asian women students at Harvard throughout October, and in December 2014 a separate

threatening email was sent to 80 Asian women students at Harvard. Noah J. Delwiche, Emailed

Death    Threat    Investigation    Remains     Open,    HARV.     CRIMSON,      Apr.   6,   2015,

https://www.thecrimson.com/

article/2015/4/6/email-threats-investigation-ongoing/; Steven Lee, Students Criticize Response to

Emailed Death Threat, HARV. CRIMSON, Oct. 4, 2014, https://www.thecrimson.com/article/

2014/10/8/discussion-criticize-response-threat/.

        In addition, Amici Curiae have had to act in response to hostility toward students of color

fanned by this lawsuit and other attacks on race-conscious admissions. See Jasmine N.

Hyppolite, A Room Full of Mirrors: Harvard Without Affirmative Action, HARV. CRIMSON, July

9,   2013      (discussing    the     “emotional     toll”   of    the    case     on    students),

https://www.thecrimson.com/article/

2018/7/9/hyppolite-harvard-without-affirmative-action/. In 2016, Harvard alumni formed

Diverse Harvard to campaign against a slate of candidates running for the Harvard Board of

Overseers, four of whom had written or testified extensively against affirmative action in

lockstep with the arguments that SFFA makes in this case. See Chin Decl. ¶ 44 (“It was clear that

they were using Asian Americans as a cover to attack the whole-person admissions process and

establish a complete bar against any consideration of race, so I joined with other alumni to form

the Coalition for a Diverse Harvard.”). Amici Curiae often work in coalition with each other and

are concerned that this case could undermine their ability to collaborate with each other and

receive the benefits of a diversity student body. See Decl. of Jasmine Parmley ¶ 5 (“[Edward



                                                19
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 27 of 40



Blum and SFFA’s] actions and words do not reflect how we feel, nor our lived experiences. . . .

We are uncomfortable with the way that Blum and SFFA could pit Asian Americans against

Harvard and against other people of color . . . .”); Ho Decl. ¶ 9, 12-13 (describing how AAWA

would lose the richness of its programming without being able to collaborate with other women

of color to explore their multifaceted identities).

       Embedding diversity and inclusion into the academic and social environment at Harvard

requires a selection process that recognizes the value of racial diversity, as part of a larger need

to address the challenges—and, at times, hostility—that students of color experience after their

admission to Harvard. As Paul L. Choi, who serves on Harvard’s Board of Overseers, explains,

“having a diverse environment [is] an integral part of the learning experience for students and an

indispensable building block for making students feel welcome at Harvard.” Paul L. Choi,

Harvard     Overseers     Election     Candidate        Questionnaire   Responses   (Mar.    2017),

https://www.diverseharvard.org/overseer-responses-2017. Race-, class-, and gender-conscious

admissions permit consideration of how bias affects selection criteria and enables Harvard to

admit a diverse and qualified group of students. Given these circumstances, eliminating any

consideration of race from the admissions process would only cause additional damage.

II.    A Race-Conscious Admissions Policy That Fosters Diversity of Underrepresented
       Students Does Not Conflict with the Interests of Asian Americans.

       Like many racial, ethnic, and religious minorities, Asian Americans have historically

faced discrimination and marginalization in this country, but they have also shared in its civil

rights successes. Rather than driving discrimination against Asian Americans, race-conscious

remedies have helped forge their path to equality. Indeed, SFFA fundamentally misconstrues the

purpose of considering race, as one of many factors in admissions: to achieve the benefits of a

racially and ethnically diverse student body, which may not otherwise be possible due to

                                                   20
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 28 of 40



substantial barriers to educational opportunities for certain talented students of color. Race

consciousness in admissions, therefore, is meant to further racial equality, and any intentional

discrimination against a particular racial group would be antithetical to that purpose. That is why

SFFA’s extreme remedy—to end all consideration of race—is misplaced even if their allegations

of discrimination against Asian Americans were true. This inherent disconnect between SFFA’s

claims and the requested remedy reveals the true reasons for this lawsuit. SFFA is not trying to

vindicate the rights of Asian Americans—who, like all Harvard students, would be harmed from

the lack of diversity resulting from the elimination of race consciousness—but rather to advance

the hidden agenda of Edward Blum in his quest to prevent all colleges and universities from

achieving racially diverse and inclusive educational environments.

       A.      Asian Americans Benefit from Race-Conscious Remedies.

       Asian Americans have a long and tragic history of racial discrimination in the United

States. The first immigration law banning entry of an entire ethnic group to the United States

targeted Chinese immigrants and was later extended to Japanese immigrants. See Joyce Kuo,

Excluded, Segregated and Forgotten: A Historical View of the Discrimination of Chinese

Americans in Public Schools, 5 ASIAN AM. L.J. 181, 187 (1998) (discussing the Chinese

Exclusion Act of 1882). Other laws at the time prohibited Chinese immigrants from land

ownership, voting, access to the courts, employment, interracial marriages, and naturalized

citizenship. Id. at 188. Until the Supreme Court struck down the doctrine of “separate, but

equal,” Asian Americans were frequently forced to attend segregated public schools. See Guey

Heung Lee v. Johnson, 404 U.S. 1215, 1215 (1971) (“Historically, California statutorily provided

for the establishment of separate schools for children of Chinese ancestry.”). “Brown v. Board of




                                                21
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 29 of 40



Education was not written for Blacks alone” but also to remedy this “classic case of de jure

segregation . . .” Id. at 1215-16.

        Vestiges of this history remain. Today, Asian Americans continue to face racial bias, and

are often falsely stereotyped as timid, exotic, perpetual foreigners, or model minorities. These

views translate into barriers in the workplace, where Asian Americans are the group least likely

to be promoted to management even in industries where they are employed in high numbers,

such as the tech industry. See Buck Gee and Denise Peck, Asian Americans are the Least Likely

Group in the U.S. to be Promoted to Management, HARV. BUS. REV., May 31, 2018. In a 2017

survey, one-quarter of Asian Americans reported personally experiencing racial discrimination in

applying for jobs, receiving equal pay or securing promotions, and renting or buying housing.

National Public Radio, Robert Wood Johnson Foundation, and Harvard T.H. Chan School of

Public Health, Discrimination in America: Experiences and Views of Asian Americans (Nov.

2017) at 6, https://www.npr.org/assets/news/2017/12/discriminationpoll-asian-americans.pdf.

This same survey found that one-third of Asian Americans have encountered a racial slur or

offensive comment about their race or ethnicity. Id. at 8-9.

        Additionally, some colleges have struggled with incidents of racist threats against Asian

American students. See Dennis Romero, Racist, Anti-Asian Flier Rocks UCLA, USC Campuses,

LA WEEKLY, Feb. 11, 2014 (describing obscene and threatening fliers sent to Asian American

student groups at UCLA and USC in 2012 and 2014), http://www.laweekly.com/news/racist-

anti-asian-flier-rocks-ucla-usc-campuses-4431258; see also supra Section I.C (discussing racist

threats against Asian American female students at Harvard). Recently, in the political realm,

national leaders have evoked elements of the Chinese Exclusion Act and Japanese internment to

support unjust immigration policies, recalling the historic hostility against Asian Americans



                                                22
         Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 30 of 40



during times of war. See Adam Liptak, Travel Ban Case Is Shadowed by One of Supreme

Court’s Darkest Moments, N.Y. TIMES, Apr. 16, 2018 (describing then-candidate Donald Trump

speaking admiringly of President Roosevelt’s approach to immigrants in the United States,

which          included         authorizing         Japanese         internment         camps),

https://www.nytimes.com/2018/04/16/us/politics/travel-ban-japanese-internment-trump-

supreme-court.html; Kat Chow, As Chinese Exclusion Act Turns 135, Experts Point to Parallels

Today,                NPR,                             May                5,               2017,

https://www.npr.org/sections/codeswitch/2017/05/05/527091890/the-135-year-bridge-between-

the-chinese-exclusion-act-and-a-proposed-travel-ban.     Amicus      Curiae    recognize     the

commonalities of historical and present-day experiences of exclusion and prejudice shared by

multiple communities of color—although no group’s experience is the same—and maintain a

commitment to building solidarity with, and learning from, each other.

         Just as Asian Americans shared in the benefits of Brown, so too have they benefitted

from other civil rights advances, including race-conscious remedies. Affirmative action programs

opened the doors of higher education to many Asian Americans in the 1960s and 1970s to

increase their numbers in higher education. See Br. of Amici Curiae Members of Asian Ams.

Advancing Justice, in Supp. of Resp’ts, Fisher v. Univ. of Tex., No. 14-981, 2015 WL 7770251,

at 8-10 (Nov. 2, 2015) (“AAJC Fisher Amicus Br.”). In responses to the activism of students,

Harvard began recognizing Asian Americans as a minority for purposes of admissions in 1976.

Chin Decl. ¶ 16. Asian Americans continue to be included in race-conscious employment

programs, such as public contracting, because they remain underrepresented in many fields. See,

e.g., AAJC Fisher Amicus Br. at 7. And there are wide disparities in the socioeconomic status

and educational opportunities for various Asian American sub-groups. See Tran Decl. ¶ 5 (noting



                                               23
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 31 of 40



feelings of isolation among Southeast Asian students “due to expectations that [they] have had

similar opportunities as other Asian students, when instead [they] come from a demographic with

a distinctly lower educational and economic background”). Thus, Asian Americans also benefit

from an admissions process that considers each person’s specific circumstances and experiences

that stem from their race. Finally, race-conscious policies that produce diverse educational

environments benefit everyone by teaching cross-racial understanding, debunking stereotypes,

and grooming students to create and support more equitable workplaces and communities.

       B.         Serious Flaws in SFFA’s Statistical Analysis Undermine SFFA’s Arguments
                  to Eliminate Race-Conscious Admissions.

       In trying to eliminate all considerations of race in Harvard’s admissions process, SFFA

utilizes a statistical analysis that fundamentally misconstrues the holistic nature of that process

by placing too much emphasis on applicants’ academic qualifications, rather than the non-

academic qualifications that distinguish competitive candidates within a pool of Harvard

applicants with exceptional academic credentials. Card Rep. at 12, 16, 28-31, 48, 65, 79;

Rebuttal Report of David Card, Ph.D., Ex. 37 to Decl. of Felicia H. Ellsworth in Supp. of

Harvard’s Mot. for Summ. J (“Card Rebuttal”) at 4, 10-15. SFFA’s misplaced emphasis on the

academic qualifications of competitive applicants, who are already in the upper margins of the

pool, see Card Rep. at 6, is particularly egregious given the racial discrimination inherent in the

standardized test scores that make up a large part of the academic criteria. See supra Section I.B.

       Concerns that SFFA manipulated data to achieve its conclusions arise from questionable

decisions made in its analysis. For example, SFFA compares applicants’ data across all six years

(rather than each year individually)13 and omits applicants—such as athletes, legacies, children

of faculty, children of large donors and others who are on the Dean’s or Director’s interest list—
       13
            Card Rep. at 51-54, 66; Card Rebuttal at 7, 39-40, 43-46.


                                                         24
         Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 32 of 40



who receive special consideration, but nonetheless are still part of the admissions process.14 In

addition, SFFA ignores important control variables, such as parental occupation, intended career,

and staff interview ratings,15 and the analysis of the “personal rating” does not consider

applicants’ personal essays, which are a key component of that rating.16

        Adjustments to SFFA’s statistical analysis raise serious questions as to whether it has met

its burden to prove that Harvard’s consideration of race, as one of many factors, in its admissions

process directly discriminates against Asian American applicants. Card Rep. at 46, 62-65, 79;

Card Rebuttal at 53-55. Indeed, rather than finding statistically significant disparities against

Asian Americans, Harvard’s expert found that, in four of the six years examined, Asian

American applicants had an increased likelihood of admission (though statistically insignificant)

compared to white applicants.17 Card Report at 67, 78-79. Moreover, being Asian American

increased the likelihood of admission (though again statistically insignificant) for women and

applicants from California, which are two large subgroups of Asian American applicants,18 thus

undermining SFFA’s assertion of an “Asian penalty.” Card Rep. at 75-78, 80; Card Rebuttal at 8,

53, 60-63.

        An examination of the effect of an applicant’s intended career, which SFFA omitted from

its analysis, illustrates how certain factors (other than race) may influence the likelihood of

admission. Harvard’s statistical analysis, which included this factor, found that 30% of Asian

        14
             Card Rep. at 34-35, 57-58; Card Rebuttal at 18, 30, 46-52, 55. These applicants include recruited
athletes, children of Harvard or Radcliffe alumni, individuals on special interest lists maintained by the Dean and
Director of Admissions (which tend to include applicants related to donors), and children of Harvard faculty and
staff. Card Rep. at 34; Card Rebuttal at 46. Plaintiffs initially omitted Early Action candidates as well, but later
included these applicants in their analysis. Card Rebuttal at 46 n.84.
          15
             Card Rep. at 40-44, 48, 79; Card Rebuttal at 6-7, 18, 34-35, 40-43, 43, 55.
          16
             Card Rep. at 70; Card Rebuttal at 5, 21-22.
          17
             SFFA’s discrimination claim focuses on comparisons between Asian American and white student
applicants. SFFA has conceded that any positive effect of race on the admission of Black and Latinx applicants
would not cause the alleged negative effect of race on Asian American applicants. See Pl.’s Br. at 13.
          18
             One-half of Asian American applicants are female, and 30% are from California. Card Rep. at 80.


                                                        25
         Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 33 of 40



American applicants—compared to 19% of white applicants—identified medicine or health as

their intended career. This intended career has the lowest admission rate (5%) of all intended

careers. Card Rep. at 44. Harvard’s expert also found that intended career, as well as several

other factors, have a greater impact than race on an applicant’s admission to Harvard. Card Rep.

at 83.

         Of additional concern is the possible variation of admission rates among specific Asian

American subgroups, which may differ from the admission rates for Asian Americans as a

whole. Asian Americans have the most intra-group economic inequality, and viewing them as a

single entity masks significant disparities among subgroups. Rakesh Kochhar & Anthony

Cilluffo, Income Inequality in the U.S. is Rising Most Rapidly Among Asians, Pew Research

Center, July 12, 2018, http://www.pewsocialtrends.org/2018/07/12/income-inequality-in-the-u-s-

is-rising-most-rapidly-among-asians/; see also Alia Wong, ‘The Model Minority’ at the

Country’s Top-Ranked Universities, THE ATLANTIC, Sept. 24, 2015 (discussing very low rates for

Laotian, Hmong, and Cambodian American students in attaining higher education),

https://www.theatlantic.com/

education/archive/2015/09/university-california-top-rankings-asian-students/407080/.     SFFA’s

overreliance on academic achievement (defined in large part by standardized test scores) in its

statistical analysis, coupled with the wide variation of test scores among Asian American

subgroups discussed above, see supra Section I.B, provide additional grounds to question its

conclusions, which are centered on a false view of “Asian Americans” as a monolithic group of

people. See Decl. of Fatima Shahbaz ¶ 13 (“[To] reduce Asian Americans to their test scores is,

quite frankly, offensive because it supports the notion that Asian Americans are just a summation




                                               26
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 34 of 40



of their test scores, instead of real individuals with personal struggles and triumphs that have

shaped their lives.”).

       Of course, as Harvard’s expert opined, statistical analyses have limitations in examining

subjective factors that are difficult to reduce to quantifiable variables, such as an applicant’s

personal essay that makes up a significant portion of the personal rating. See Card Rep at 32-33,

70. However, it is SFFA’s burden to prove its claims, and it has chosen to do so with statistical

analyses that, when scrutinized, are vulnerable to several important criticisms.

       C.      SFFA’s Requested Remedy—the Erasure of Race from Harvard’s
               Admissions Process—Would Not Address the Alleged Discrimination
               Against Asian Americans.

       Because far fewer Black, Latinx, and Native American students apply to elite colleges

and universities, as compared to white applicants, the decrease in their admissions due to the

elimination of race considerations would not greatly benefit Asian American student applicants.

See Goodwin Liu, The Causation Fallacy: Bakke and the Basic Arithmetic of Selective

Admissions, 100 MICH. L. REV. 1045, 1046 (2002). In fact, according to Harvard’s expert,

eliminating all considerations of race would increase the Asian American share of the admitted

class by 3 percentage points—from 24% to 27%—while at the same time increasing the share of

white students by almost triple that amount—8% percentage points, from 40% to 48%. Card

Rep. at 103. SFFA concedes that, according to its own statistical analysis, any advantage to

Black and Latinx applicants due to their race does not account for the alleged negative effect of

Harvard’s admission system on Asian American applicants. See Pl.’s Br. at 13.

       If there is discrimination against Asian American applicants in the personal category

rating—whether due to implicit or other bias by Harvard or some other outside entity, such as

teachers, guidance counselors, or alumni interviewers—Harvard must take immediate action to



                                                27
        Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 35 of 40



eliminate and/or counter this bias. But “we must be careful not to conflate society’s tendency to

view the [Asian American/Pacific Islander] experience as a monolithic one with any effects of

race-conscious admissions.” Ho Decl. ¶ 11. The solution to the question of bias is “not to erase

all applicants’ identities by eliminating race consciousness.” Yasin Decl. ¶ 5. Instead, Harvard

can better ensure that implicit bias does not infect decisionmaking by providing implicit bias

training to everyone involved in the admissions process (with a focus on understanding both the

shared experiences of Asian Americans and the varied experiences of people from different

Asian American subgroups), hiring additional Asian American admissions officers, and

recruiting additional Asian American alumni interviewers. Harvard should also reconsider its

approach of grouping all Asian American and Pacific Islander applicants together as a single

ethnic demographic in the admissions process, which cloaks the myriad distinct identities under

that banner and may also disadvantage members of certain subgroups. These recommendations

apply equally to eliminate and/or counter biases against all other communities of color.19

        SFFA’s true motivations are laid bare by the fact that, instead of advancing remedies that

would actually help Asian Americans, it instead seeks a remedy that would dramatically improve

the rate of admission of white student applicants. Card Rep. at 103 (noting that elimination of

race would cause the white share of admitted class would increase from 40% to 48%). SFFA’s

transparent display of false concern for the real interests of Asian Americans is unsurprising

given that Edward Blum is the engine behind this litigation. Indeed, Mr. Blum has long been a

foe of civil rights on a mission to put an end to “race-based laws and policies.” Joan Biskupic,

        19
            For example, the category of “Black” applicants can include both recent African or West Indian
immigrants and African Americans who are the descendants of people who toiled under slavery and whose families
have lived in the United States for generations through the Jim Crow era and Civil Rights Movement. Both bring
distinct experiences and identities to Harvard’s campus. See Sara Rimer & Karen W. Arenson, Top Colleges Take
More Blacks, but Which Ones?, N.Y. TIMES, June 24, 2004, https://www.nytimes.com/2004/06/24/us/top-colleges-
take-more-blacks-but-which-ones.html.


                                                     28
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 36 of 40



Special Report: Behind U.S. Race Cases, a Little Known Recruiter, REUTERS, Dec. 4, 2012,

http://www.

reuters.com/article/us-usa-court-casemaker-idUSBRE8B30V220121204. In this quest, he has

brought multiple lawsuits to make college admissions less diverse and inclusive, including

Fisher and a pending case brought by SFFA against the University of North Carolina (“UNC”).

Stephanie Mencimer, Here’s the Next Sleeper Challenge to Affirmative Action: The Guy Who

Engineered the Fisher Case in the Supreme Court Isn’t Done Yet, MOTHER JONES, July 19, 2016,

http://www.

motherjones.com/politics/2016/07/abigail-fisher-going-stay-mad.

       Mr. Blum has no history of advocacy for the Asian American community and has made

clear that the genesis of this lawsuit was his failure to prevail in the Fisher litigation. See

SCOTUSblog on Camera: Edward Blum (Complete), SCOTUSblog, http://www.scotusblog.com/

media/scotusblog-on-camera-edward-blum-complete (presenting a video of Edward Blum

describing his plan to sue Harvard and UNC). Tellingly, the founders of SFFA include Mr.

Blum, Abigail Fisher, and her father. Harvard’s SMF ¶ 241. Mr. Blum has readily admitted that

the goal of suing Harvard and UNC “is to eliminate the use of race or ethnicity in applying. So, I

needed plaintiffs. I needed Asian plaintiffs.” SCOTUSblog, supra. Thus, SFFA cannot credibly

assert that it is seeking redress for the benefit of Asian American applicants by pursuing this

case. Rather, this litigation is a naked and cynical attempt to once again challenge well-settled

law and make spurious and controversial claims of discrimination for the sole purpose of

preventing Harvard and other colleges and universities from creating a diverse learning

environment for their students.

                                        CONCLUSION



                                               29
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 37 of 40



       The pressing need for diversity and equity on Harvard’s campus requires race-conscious

admissions to help foster an inclusive environment that facilitates meaningful exchanges

between students of all backgrounds. “[N]othing less than the ‘nation’s future depends upon

leaders trained through wide exposure to the ideas and mores of students as diverse as this

Nation of many peoples.’” Grutter, 539 U.S. at 324 (quoting Bakke, 438 U.S. at 313). As

members of the Harvard student and alumni community, Amici Curiae urge this Court to follow

clear precedent and reject Plaintiff’s dubious challenge to Harvard’s narrowly-tailored efforts to

foster diversity and inclusion by considering race, as one of many factors, in its admissions

decisions.




                                               30
       Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 38 of 40



Dated: July 30, 2018

                                           Respectfully submitted,

                                           /s/ Jin Hee Lee
                                           Sherrilyn Ifill*
                                           Janai Nelson*
                                           Samuel Spital*
                                           Jin Hee Lee*
                                           Rachel Kleinman*
                                           Cara McClellan*
                                           NAACP Legal Defense &
                                             Educational Fund, Inc.
                                           40 Rector Street, 5th Floor
                                           New York, NY 10006
                                           (212) 965-2200

                                           Michaele N. Turnage Young*
                                           Jennifer A. Holmes*
                                           NAACP Legal Defense &
                                             Educational Fund, Inc.
                                           700 14th Street NW, Suite 600
                                           Washington, DC 20005
                                           (202) 682-1300

                                           /s/ Kenneth N. Thayer
                                           Kenneth N. Thayer, BBO #671029
                                           thayer@sugarmanrogers.com
                                           Kate R. Cook, BBO #650698
                                           cook@sugarmanrogers.com
                                           Sugarman, Rogers, Barshak & Cohen, P.C.
                                           101 Merrimac Street (9th floor)
                                           Boston, MA 02114-4737
                                           (617) 227-3030

                                           Counsel for Amici Curiae Harvard-Radcliffe
                                           Black Students Association, Kuumba Singers
                                           of Harvard College, Fuerza Latina of
                                           Harvard, Native Americans at Harvard
                                           College, Harvard-Radcliffe Asian American
                                           Association, Harvard-Radcliffe Asian
                                           American Women’s Association, Harvard
                                           Asian American Brotherhood, Harvard
                                           Vietnamese Association, Harvard-Radcliffe
                                           Chinese Students Association, Harvard
                                           Korean Association, Harvard Japan Society,

                                      31
Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 39 of 40



                                    Harvard South Asian Association, Harvard
                                    Islamic Society, Task Force on Asian and
                                    Pacific American Studies at Harvard
                                    College, Harvard Phillips Brooks House
                                    Association, Harvard Minority Association
                                    of Pre-Medical Students, Coalition for a
                                    Diverse Harvard, First Generation Harvard
                                    Alumni, Native American Alumni of Harvard
                                    University, Harvard University Muslim
                                    Alumni, and Harvard Latino Alumni
                                    Alliance

                                    *Admitted Pro Hac Vice




                               32
          Case 1:14-cv-14176-ADB Document 471 Filed 08/03/18 Page 40 of 40



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of August, 2018, a copy of the above and foregoing

AMICI CURIAE BRIEF OF HARVARD-RADCLIFFE BLACK STUDENTS ASSOCIATION,

KUUMBA SINGERS OF HARVARD COLLEGE, FUERZA LATINA OF HARVARD,

NATIVE AMERICANS AT HARVARD COLLEGE, HARVARD-RADCLIFFE ASIAN

AMERICAN ASSOCIATION, HARVARD-RADCLIFFE ASIAN AMERICAN WOMEN’S

ASSOCIATION,        HARVARD        ASIAN      AMERICAN        BROTHERHOOD,           HARVARD

VIETNAMESE         ASSOCIATION,         HARVARD-RADCLIFFE             CHINESE        STUDENTS

ASSOCIATION, HARVARD KOREAN ASSOCIATION, HARVARD JAPAN SOCIETY,

HARVARD SOUTH ASIAN ASSOCIATION, HARVARD ISLAMIC SOCIETY, TASK

FORCE ON ASIAN AND PACIFIC AMERICAN STUDIES AT HARVARD COLLEGE,

HARVARD PHILLIPS BROOKS HOUSE ASSOCIATION, MINORITY ASSOCIATION OF

PRE-MEDICAL STUDENTS, COALITION FOR A DIVERSE HARVARD, FIRST

GENERATION HARVARD ALUMNI, NATIVE AMERICAN ALUMNI OF HARVARD

UNIVERSITY, HARVARD UNIVERSITY MUSLIM ALUMNI, AND HARVARD LATINO

ALUMNI ALLIANCE IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY

JUDGMENT was filed electronically with the Clerk of Court using the CM/ECF system. Notice

of this filing will be sent to all counsel of record by operation of the court’s electronic filing

system.

                                                    /s/ Kenneth N. Thayer
                                                    Kenneth N. Thayer, BBO #671029
                                                    thayer@sugarmanrogers.com
                                                    Sugarman, Rogers, Barshak & Cohen, P.C.
                                                    101 Merrimac Street (9th floor)
                                                    Boston, MA 02114-4737
                                                    (617) 227-3030



                                               33
